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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. 05-608M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TERRY EDWARD JOHNSON,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Cocaine Base

16 Date of Detention Hearing:     Initial Appearance, December 16, 2005

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is charged with three co-defendants with conspiring to distribute 50


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 grams or more of a mixture and substance containing cocaine base (crack cocaine).

02          (2)     Defendant was not interviewed by Pretrial Services. There is no additional

03 information regarding his personal history, residence, family ties or ties to the Western District of

04 Washington, income, financial assets or liabilities, physical/mental health or controlled substance

05 use if any. His criminal history includes failure to comply charges, and VUCSA charges. The

06 defendant does not contest detention.

07          (3)     The defendant poses a risk of nonappearance due to unknown background

08 information and a history of failing to comply with court orders. He poses a risk of danger due to

09 criminal history and the nature of the instant charges.

10          (4)     There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

12 to other persons or the community.

13 It is therefore ORDERED:

14          (1)     Defendant shall be detained pending trial and committed to the custody of the

15                  Attorney General for confinement in a correction facility separate, to the extent

16                  practicable, from persons awaiting or serving sentences or being held in custody

17                  pending appeal;

18          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                  counsel;

20          (3)     On order of a court of the United States or on request of an attorney for the

21                  Government, the person in charge of the corrections facility in which defendant is

22                  confined shall deliver the defendant to a United States Marshal for the purpose of


     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 16th day of December, 2005.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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